        CASE 0:18-cv-00773-JRT-DTS Document 27 Filed 12/18/18 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA



 STRIKE 3 HOLDINGS, LLC,                             Civil Case No. 0:18-cv-00773-JRT-DTS

         Plaintiff,

 v.

 JOHN DOE subscriber assigned IP address
 24.7.203.5,

         Defendant.



      PLAINTIFF’S FOURTH EX-PARTE APPLICATION FOR EXTENSION OF TIME
       WITHIN WHICH TO EFFECTUATE SERVICE ON JOHN DOE DEFENDANT

        Pursuant to Fed. R. Civ. P. 4(m), Plaintiff, Strike 3 Holdings, LLC (“Plaintiff”), makes

this fourth ex-parte application for entry of an order extending the time within which to

effectuate service on John Doe Defendant, and states:

        1.      This is a copyright infringement case against a John Doe Defendant known to

Plaintiff only by an IP address. Defendant’s true identity is known by their Internet service

provider (“ISP”).

        2.      On April 19, 2018, Plaintiff filed a Motion for Leave to Serve a Third Party

Subpoena Prior to a Rule 26(f) Conference (“Motion”) in order to serve a third party subpoena

on Defendant’s ISP to obtain the Defendant’s identifying information [CM/ECF 5].

        3.      On April 30, 2018, the Court denied Plaintiff’s Motion [CM/ECF 14].

        4.      On May 11, 2018, Plaintiff filed its Objection to Magistrate Judge’s Order

(“Objection”), which is currently pending before the Court [CM/ECF 15].


                                                 1
         CASE 0:18-cv-00773-JRT-DTS Document 27 Filed 12/18/18 Page 2 of 3




         5.    Pursuant to Fed. R. Civ. P. Rule 4(m), Plaintiff was required to effectuate service

on the Defendant no later than June 19, 2018. On June 19, 2018, Plaintiff filed its First

Application for Extension of Time Within Which to Effectuate Service (“First Application”)

[CM/ECF 16]. On June 21, 2018, the Court granted Plaintiff’s First Application, extending the

deadline to effect service until August 18, 2018 [CM/ECF 18].

         6.    On August 17, 2018, Plaintiff filed its Second Application for Extension of Time

Within Which to Effectuate Service (“Second Application”) [CM/ECF 19]. On August 20, 2018,

the Court granted Plaintiff’s Second Application, extending the deadline to effect service until

October 17, 2018 [CM/ECF 21].

         7.    On October 17, 2018, Plaintiff filed its Third Application for Extension of Time

Within Which to Effectuate Service (“Third Application”) [CM/ECF 22]. On October 18, 2018,

the Court granted Plaintiff’s Third Application, extending the deadline to effect service until

December 16, 2018 [CM/ECF 24].

         8.    Because Plaintiff’s Objection is pending before the Court, Defendant’s identity

currently remains unknown to Plaintiff, and Plaintiff is unable to comply with the current service

deadline.


         9.    Procedurally, Plaintiff respectfully requests that the time within which it has to

effectuate service of the summons and Complaint on Defendant be extended an additional sixty

(60) days, or until February 15, 2019.

         10.   This fourth application is made in good faith and not for the purpose of undue

delay.

         11.   This is Plaintiff’s fourth request for an extension. None of the parties will be

prejudiced by the granting of this extension.


                                                 2
      CASE 0:18-cv-00773-JRT-DTS Document 27 Filed 12/18/18 Page 3 of 3




       WHEREFORE, Plaintiff respectfully requests that the time within which it has to

effectuate service of the summons and Complaint on Defendant be extended until February 15,

2019. A proposed order is attached for the Court’s convenience.


Dated: December 17, 2018                           Respectfully submitted,

                                                   FOX ROTHSCHILD, LLP

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